
PER CURIAM.
Affirmed. Pandula v. Fonseca, 145 Fla. 395, 199 So. 358 (1940); Forte v. State, 662 So.2d 432 (Fla. 3d DCA 1995); McCall v. State, 463 So.2d 425 (Fla. 3d DCA 1985); Hernandez v. State, 360 So.2d 39 (Fla. 3d DCA 1978); Oliva v. State, 354 So.2d 1264 (Fla. 3d DCA 1978); Broge v. State, 288 So.2d 280 (Fla. 4th DCA 1974); Schulkin v. State, 287 So.2d 137 (Fla. 3d DCA 1973).
